                                      UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF ALABAMA

UNITED STATES OF AMERICA                                                 §     JUDGMENT IN A CRIMINAL CASE
                                                                         §
v.                                                                       §
                                                                         §     Case Number: 1:16-CR-00020-003
JANICE MARIE KIRKLAND                                                    §     USM Number: 16317-003
a/k/a Janice Nettles                                                     §     Tim W. Fleming, Esquire
                                                                         §     Defendant’s Attorney

THE DEFENDANT:
        pleaded guilty to counts 7 & 9 on 8/22/2016.
        pleaded nolo contendere to count(s) _____________ which was accepted by the court
        was found guilty on count(s) ______________after a plea of not guilty

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

Title & Section / Nature of Offense                                                                   Offense Ended           Count
18 USC § 1343 - Wire Fraud                                                                            02/06/2012              7
18 USC § 1343 - Wire Fraud                                                                            02/26/2013              9




The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

      The defendant has been found not guilty on count(s)
      Counts 1,5,6,8,10,11,17,21-27,33 & 34 are dismissed on the motion of the United States

         It is ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in economic
circumstances.


                                                                  December 8, 2016
                                                                  Date of Imposition of Judgment




                                                                  /s/ Callie V. S. Granade
                                                                  Signature of Judge

                                                                  CALLIE V. S. GRANADE
                                                                  SENIOR UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge

                                                                  December 9, 2016
                                                                  Date
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DEFENDANT:                  JANICE MARIE KIRKLAND, a/k/a Janice Nettles
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                                                          PROBATION
The defendant is hereby sentenced to probation for a term of: THREE (3) years as to each of Counts 7 & 9; said terms are to run
concurrently.


      Special Conditions:

1) The defendant is prohibited from making major purchases, incurring new credit charges, or opening additional lines of credit
without the permission of the Probation Officer, until such time as the financial obligations imposed by this court have been satisfied
in full.

2) The defendant shall provide the Probation Office access to any requested financial information.

3) The defendant shall make restitution as set forth on Sheets 5, Part A & 5, Part B of this Judgment.




For offenses committed on or after September 13, 1994: The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days after placement on probation and at least two periodic drug tests
thereafter, as directed by the probation officer.

      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse. (Check, if applicable.)
      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, is a
      student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

If this judgment imposes a fine or restitution obligation, it shall be a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court.
The defendant shall also comply with the additional conditions on the attached page.


                                                    See Page 4 for the
                                         “STANDARD CONDITIONS OF SUPERVISION”
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DEFENDANT:                JANICE MARIE KIRKLAND, a/k/a Janice Nettles
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                              STANDARD CONDITIONS OF SUPERVISION
    1. the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2. the defendant shall report to the probation officer in a manner and frequency directed by the court or
        probation officer;
    3. the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of
        the probation officer;
    4. the defendant shall support his or her dependents and meet other family responsibilities;
    5. the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
        schooling, training, or other acceptable reasons;
    6. the defendant shall notify the probation officer at least ten days prior to any change in residence or
        employment;
    7. the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute,
        or administer any controlled substance or any paraphernalia related to any controlled substances, except
        as prescribed by a physician;
    8. the defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
        or administered;
    9. the defendant shall not associate with any persons engaged in criminal activity and shall not associate
        with any person convicted of a felony, unless granted permission to do so by the probation officer;
    10. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
        shall permit confiscation of any contraband observed in plain view of the probation officer;
    11. the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned
        by a law enforcement officer;
    12. the defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court; and
    13. as directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant’s criminal record or personal history or characteristics and shall permit the
        probation officer to make such notifications and to confirm the defendant’s compliance with such
        notification requirement.
    14. the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if
        applicable, under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted
        of qualifying offenses.
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DEFENDANT:                   JANICE MARIE KIRKLAND, a/k/a Janice Nettles
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                                        CRIMINAL MONETARY PENALTIES
        The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth
on Page 5.
                                                     Assessment                               Fine                      Restitution
TOTALS                                                   $200.00                                                          $5,786.00

      The determination of restitution is deferred until ____________. An Amended Judgment in a Criminal Case (AO245C) will be
      entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified otherwise
in the priority order or percentage payment column below. (or see attached) However, pursuant to 18 U.S.C. § 3644(i), all non-federal
victims must be paid in full prior to the United States receiving payment.

Restitution of $5,786.00 to:

         INTERNAL REVENUE SERVICE-RACS
         ATT: MAILSTOP 6261 RESTITUTION
         333 WEST PERSHING AVENUE
         KANSAS CITY, MO 64108


      Restitution amount ordered pursuant to plea agreement $ $5,786.00
      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Page 5 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
             the interest requirement is waived for the           fine                                 restitution
             the interest requirement for the                     fine                                 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                  JANICE MARIE KIRKLAND, a/k/a Janice Nettles
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                                               SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A           Lump sum payment of $5,986.00 due immediately, balance due ☐ not later than ______________, or

            in accordance with                C,                D,                E, or              F below; or

B           Payment to begin immediately (may be combined with                    C,                 D, or                    F below); or

C           Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                                (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D           Payment in equal      (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                               (e.g., months or years), to commence               (e.g., 30 or 60 days) after release from imprisonment
            to a term of supervision; or

E           Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release
            from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
            time; or

F           Special instructions regarding the payment of criminal monetary penalties:
            It is ordered that the Defendant shall pay to the United States a special assessment of $200.00 for Counts 7 and 9
            which shall be due immediately, and restitution in the amount of $5,986.00. The special assessment and restitution
            are due immediately and payable in full, and are to be paid through the Clerk, U.S. District Court. As a special
            condition of probation, the Probation Office shall pursue collection of any balance remaining after 12/8/2016 in
            installments to commence no later than 30 days after the date of release. If restitution is to be paid in installments,
            the court orders that the defendant make at least minimum monthly payments in the amount of $50.00. No interest
            is to accrue on this debt. The defendant is ordered to notify the court of any material change in her ability to pay
            restitution. The Probation Office shall request the court to amend any payment schedule, if appropriate.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes imprisonment, payment of
criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court, unless otherwise
directed by the court, the probation officer, or the United States Attorney.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

      Joint and Several

          Defendant shall receive credit on her restitution obligation for recovery from other defendants who contributed to the same
      loss that gave rise to defendant's restitution obligation.
      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court cost(s):
      The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
